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11
                                  UNITED STATES DISTRICT COURT
12
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
13
                         AND THE NORTHERN DISTRICT OF CALIFORNIA
14
                    UNITED STATES DISTRICT COURT COMPOSED OF THREE
15
                  PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
16

17
       RALPH COLEMAN, et al.,                        No. 2:90-cv-00520 LKK JFM P
18
                    Plaintiffs,                      THREE-JUDGE COURT
19
             v.
20
       ARNOLD SCHWARZENEGGER, et al.,
21
                    Defendants.
22

23     MARCIANO PLATA, et al.,                       No. C01-1351 TEH
24                  Plaintiffs,                      THREE-JUDGE COURT
25           v.
                                                     DEFENDANTS’ MOTION IN LIMINE NO. 12
26     ARNOLD SCHWARZENEGGER, et al.,                TO EXCLUDE REPORT AND TESTIMONY
                                                     OF PLAINTIFFS’ EXPERTS JAMES
27                  Defendants.                      GILLIGAN AND PABLO STEWART
28                                                   To: Three-Judge Panel
       DEFS.’ MIL NO. 12 TO EXCLUDE PLS.’ EXPERTS GILLIGAN AND STEWART
       (CASE NOS. 00520 LKK JFM; 01-1351 TEH)                                            1651471.1
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 1            TO PLAINTIFFS MARCIANO PLATA AND RALPH COLEMAN AND THEIR

 2     ATTORNEYS OF RECORD:

 3            PLEASE TAKE NOTICE that Defendants Arnold Schwarzenegger, et al. move the

 4     Three-Judge Panel for an in limine order to exclude any and all of Plaintiffs’ evidence,

 5     report, testimony, or argument that a prisoner release order will not adversely impact

 6     public safety. This motion is based on this notice, the points and authorities, the Court’s

 7     file in this matter, the declaration and exhibits filed in support of Defendants’ motion, and

 8     any further argument presented to the Three-Judge Panel.

 9                        MEMORANDUM OF POINTS AND AUTHORITIES
10                                       I.     INTRODUCTION
11            A prisoner release order is an extreme remedy that should not issue unless it will
12     cure the constitutional violation in question and the violation cannot be fixed any other
13     way. Here, the alleged constitutional violations at issue are the delivery of medical and
14     mental health care in California’s prisons, not overcrowding, housing, or other
15     environmental conditions affecting the general population. Defendants are not
16     deliberately indifferent to the medical and mental health needs of Plata and Coleman
17     class-members, and overcrowding is not the "primary cause" of those alleged
18     constitutional violations. Therefore, a prisoner release order is not the proper remedy.
19            Defendants move in limine to exclude the report and testimony of Plaintiffs’
20     designated mental health experts, Dr. James Gilligan and Dr. Pablo Stewart, under

21     Federal Rules of Evidence 702 and 703. Both Dr. Gilligan and Dr. Stewart were

22     designated by Plaintiffs to address whether a prisoner release order would have an

23     adverse effect on the public. Yet, at deposition, both testified they were unfamiliar with

24     the community mental health care system in California. Therefore, Dr. Gilligan’s and Dr.

25     Stewart’s opinion that a prisoner release order will not adversely impact public safety

26     lacks the requisite expertise and factual and methodological foundation to be admissible.

27     Defendants respectfully request that this evidence, report, testimony, and argument be

28     excluded.

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 1                        II.   FACTUAL AND PROCEDURAL BACKGROUND

 2            Dr. Pablo Stewart, a board-certified psychiatrist , stated the following opinion in his

 3     expert report: “The State can include the Coleman class in population reduction plans

 4     without adversely affecting public safety and should do so. Moreover, f the State

 5     enhanced the services provided to released individuals, public safety would improve.”

 6     (Decl. Mello Supp. Defs.’ Mots. in Limine (Decl. Mello), Ex. V (Supp. Expert Report

 7     Stewart) at 63.)

 8            Dr. James Gilligan, a board-certified psychiatrist from New York, stated the

 9     following opinions in his expert report: (A) “A prisoner release order that includes an
10     incremental decrease in the length of stay and/or diversion of mentally ill offenders would
11     not adversely impact public safety” (Decl. Mello, Ex. Q at 7, ¶ 18); and (B) the elements
12     need to improve public safety outcomes regarding the treatment of mentally ill offenders
13     include pre-release planning, a system of access to care, programs to target co-
14     occurring disorders/dual diagnosis, and coordination with community care providers. (Id.
15     at 26-36, ¶ 50-66).
16                                      III.   LEGAL ARGUMENT
17     A.     An Expert Opinion that Public Safety Will Not Be Adversely Impacted by a
              Prisoner Release Order Must be Supported By Data or Suffer Exclusion.
18

19            “If scientific, technical, or other specialized knowledge will assist the trier of fact to

20     understand the evidence or to determine a fact in issue, a witness qualified as an expert

21     by knowledge, skill, experience, training, or education, may testify thereto in the form of

22     an opinion or otherwise, if (1) the testimony is based upon sufficient facts or data, (2) the

23     testimony is the product of reliable principles and methods, and (3) the witness has

24     applied the principles and methods reliably to the facts of the case.” Fed. R. Evid. 702.

25            An expert’s opinion may be excluded where the expert does not have

26     “knowledge, skill, experience, training, or education” to qualify them as having

27     “specialized knowledge” regarding the subject upon which they propose to testify. See

28     Thomas J. Kline, Inc. v. Lorillard, Inc., 878 F.2d 791, 799-800 (4th Cir. 1989). Factors

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 1     regarding reliability include: “whether the experts are proposing to testify about matters

 2     growing naturally and directly out of research they have conducted independent of the

 3     litigation, or whether they have developed their opinions expressly for purposes of

 4     testifying” (Daubert v. Merrell Dow Pharmaceuticals, 43 F.3d 1311, 1317 (9th Cir. 1995)

 5     (on remand)); whether there is simply “too great an analytical gap between the data and

 6     the opinion proffered” and the opinion “is connected to existing data only by the ipse dixit

 7     of the expert” (General Electric Co. v. Joiner, 522 U.S. 136, 146 (1997)); and whether

 8     the conclusions are “mere subjective belief or unsupported conclusions” (Claar v.

 9     Burlington Northern Railroad Co., 29 F.3d 499, 502 (9th Cir. 1994)). Dr. Gilligan’s and
10     Dr. Stewart’s opinion does not satisfy these requirements.
11     B.     Dr. Gilligan’s Opinion Is Not Based on Sufficient Facts or a Reliable Method
              and So Must Be Excluded.
12

13            As a psychiatrist who has practiced only in Massachusetts and New York, Dr.

14     Gilligan had no familiarity with the availability of mental health care services within the

15     State of California. (Decl. Mello, Ex. P (9/19/08 Dep. Gilligan) at 11:22-24; 25:14-15.)

16     He had never personally toured any parole outpatient clinic, any facility of the California

17     Department of Corrections and Rehabilitation (CDCR), nor any facility the Department of

18     Mental Health. (Id. at 35:24 -36:2, 15-17; 36:18-24; 64:7-11.) Dr. Gilligan testified that

19     he did not “know California in that much detail” and that he just “assume[d] that there are

20     mental health clinics and mental health centers.” (Id. at 79:25 & 90:3-9.) Moreover, Dr.

21     Gilligan did not know the number or the capacity of mental health hospitals in California.

22     (Id. at 90:10-18.)

23            He understood, only from “reading documents,” that inmates within the Mental

24     Health Services Delivery System (Coleman class members) may, upon parole from

25     prison in California, access needed mental health services through a Parole Outpatient

26     Clinic (POC). He stated, “The POC framework is set up to provide treatment consisting

27     of medication management, group therapy and individual therapy in California parole

28     offices throughout the state.” (Decl. Mello, Ex. Q at 31, ¶ 59.) He had reviewed an

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 1     annual report on the efficacy of the POC, in combination with pre-release planning. (Id.)

 2     He urged Defendants adopt the Massachusetts protocol of involuntary placement of

 3     mentally ill inmates into the DMH instead of release on parole, but was not aware of the

 4     Lanterman-Petris-Short Act. (Decl. Mello, Ex. P (9/19/08 Dep. Gilligan) at 44:5-45:5.)

 5     Dr. Gilligan opined that the POC clinics needed to be expanded to meet the mentally ill

 6     parolees’ needs, but did not have any opinion on the magnitude of that expansion and

 7     did not even know the present types of mental health clinicians staffing the clinics. (Id. at

 8     65:6-67:7)

 9            Because Dr. Gilligan is not familiar with the community resources available to
10     parolees, he cannot proffer any opinion concerning the public safety impact of releasing
11     mentally ill parolees to the community.
12     C.     Dr. Stewart’s Opinion Is Not Based on Sufficient Facts or a Reliable Method
              and So Must Be Excluded.
13

14            Like Dr. Gilligan, Dr. Stewart’s knowledge of mental health services provided to
15     mentally ill inmates through Parole Outpatient Clinics or other programs was extremely
16     nominal. (Decl. Mello, Ex. T (9/18/08 Dep. Pablo Stewart) at 238:11-20.) When asked if
17     he had an opinion as to where the POC were sufficient in number and staff to meet the
18     mental health needs of Coleman class members subject to a release order, Dr. Stewart
19     confessed, “I don't have that, an opinion on that because I'm not that absolutely familiar
20     with what is currently available. “ (Id. at 238:11-20.) Dr. Stewart agreed that some
21     portion of released Coleman class members would at least need ongoing medication
22     support for their illnesses while in the community, but did not know the number of such
23     patients. (Id. at 260:19-261:12.) Dr. Stewart was not aware that certain counties in the
24     State of California do not have the ability to support a county hospital for the care of the
25     indigent. (Id. at 266:1-8.) Dr. Stewart did not know the staffing ratios in the California
26     community mental health care system. (Id. at 288:6-11.) He urged diversion programs
27     for mentally ill offenders, but had never visited such a program and was not aware if any
28     existed within the State of California. (Id. at 273:6-274:2.)
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 1             In conclusion, both Dr. Gilligan and Dr. Stewart demonstrated a similar

 2     unfamiliarity with respect to the California parole outpatient clinics provided by CDCR

 3     and the community mental health care system. Dr. Gilligan’s and Dr. Stewart’s opinion

 4     that a prisoner release order will not have an adverse impact on public safety lacks the

 5     requisite “intellectual rigor” to be an admissible expert opinion, but is instead a statement

 6     of mere subjective belief and unsupported conclusions, engineered to match the

 7     positions of Plaintiffs’ counsel.

 8                                          V.    CONCLUSION
 9            For the foregoing reasons, the evidence, report, testimony, or argument of
10     Plaintiffs’ experts, Dr. James Gilligan and Dr. Pablo Stewart, that a prisoner release
11     order will not have an adverse impact on public safety should be excluded at trial.
12     DATED: October 20, 2008                       HANSON BRIDGETT LLP
13
                                                  By: /s/ Paul B. Mello
14                                                   PAUL MELLO
                                                     Attorneys for Defendants Arnold
15                                                   Schwarzenegger, et al.
16     DATED: October 20, 2008                       EDMUND G. BROWN JR.
                                                     Attorney General for the State of California
17

18                                                By: /s/ Kyle A. Lewis
                                                     KYLE LEWIS
19                                                   Deputy Attorney General
                                                     Attorneys for Defendants Arnold
20                                                   Schwarzenegger, et al.
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